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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division



  B.R.,

       Plaintiff,

  v.                                                  Case No. 1:19-cv-917 (RDA/TCB)

  F.C.S.B., et al.,

       Defendants.


                              JOINT MOTION TO STAY DISCOVERY

          Plaintiff, by counsel, and Defendants, Fairfax County School Board (“F.C.S.B.”), S.T.,

 A.F., P.A.H., T.B., B.H., M.P.F., M.C., F.T., J.F., C.K., and J.O., by counsel, (collectively, “the

 Parties”) respectfully move this Court for an Order staying discovery in this case. In support

 thereof, the Parties state as follows:

          1.        This case arises out of the alleged sexual harassment, sexual assault, and sexual

 abuse suffered by Plaintiff B.R. while she was a middle school student within Fairfax County

 Public Schools.

          2.        Plaintiff, who recently obtained new counsel, intends to seek leave to amend her

 Amended Complaint to add factual allegations and five additional causes of action. Plaintiff has

 circulated a copy of her proposed Second Amended Complaint for review by defense counsel in

 an effort to determine whether defense counsel would oppose Plaintiff’s motion for leave to file

 the Second Amended Complaint ahead of the Rule 16(b) Pretrial Conference scheduled for May

 18, 2022. The Parties are in discussion to determine whether Defendants will consent to Plaintiff’s
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 Motion for Leave. Plaintiff expects to file her Motion for Leave, by consent or otherwise, on or

 before May 16, 2022.

        3.      Counsel for F.C.S.B. has represented that it intends to file a Rule 12(b)(6) motion

 seeking the dismissal of certain claims and damages. That motion will include an argument

 seeking to dismiss and/or strike Plaintiff’s non-economic damages based on the recent U.S.

 Supreme Court decision in Cummings v. Premier Rehab Keller, P.L.L.C., 596 US ___, 2022 WL

 1243658 (Apr. 28 2022). F.C.S.B. represents that, if successful, the motion will obviate a

 significant amount of discovery—e.g., factual depositions, expert reports, independent medical

 evaluations, expert depositions, etc. While Plaintiff disagrees with substantive positions taken by

 F.C.S.B., Plaintiff agrees that the resolution of Rule 12(b)(6) motion(s) will assist the Parties in

 conducting discovery in an efficient and effective manner. Accordingly, the Parties believe there

 is good cause to stay discovery as it will conserve their resources while this critical issue is being

 briefed and decided.

        4.      In light of the above, counsel for all Parties have agreed that a stay of discovery

 until that motion is resolved would be appropriate.

        5.       In determining whether to grant a stay of discovery, courts consider whether a stay

 would (1) serve the interests of judicial economy; (2) place a hardship on any party; and (3)

 prejudice any party. See Actelion Pharm. Ltd. v. Lee, Civil Action No. 1:15-cv-1266, 2016 U.S.

 Dist. LEXIS 5574, at *10 (E.D. Va. Jan. 13, 2016) (O’Grady, J.) (listing factors to be considered

 in determining whether to grant a stay of discovery); Buzzell v. JP Morgan Chase Bank, No. 3:13-

 CV-668, 2015 U.S. Dist. LEXIS 120330, *2 (E.D. Va. Sept. 9, 2015) (Spencer, J.) (same).

        6.      The Parties agree that a stay pending resolution of F.C.S.B.’s Rule 12(b)(6) motion

 would serve the interests of judicial economy. In addition to the reasons set forth above, it would




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 permit the Parties to avoid taking the more than twenty depositions that would need to commence

 within the next month until the Rule 12(b)(6) motion is resolved. The Parties also agree that a stay

 would not place a hardship on any party and that no Parties would be prejudiced by the stay.

          WHEREFORE, for the foregoing reasons, Plaintiff and Defendants, by counsel,

 respectfully request that this Court grant their Joint Motion to Stay Discovery pending resolution

 of any Rule 12(b)(6) motion. The Parties propose that they submit a revised Joint Discovery Plan

 within seven (7) days of the Court’s resolution of the 12(b)(6) motion(s).

 Dated: May 11, 2022                                    Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that, on the 11th day of May, 2022, I have electronically filed the foregoing

 Motion with the Clerk of the Court using CM/ECF system, which will then send a notification of

 such filing (NEF) to counsel of record.

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